                 Case 23-10831-MFW              Doc 915        Filed 01/18/24       Page 1 of 2


                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                         Case No. 23-10831 (MFW)

                                                             (Jointly Administered)
             Debtors.
                                                            Related Docket No. 869


       CERTIFICATE OF NO OBJECTION REGARDING FIFTH MONTHLY APPLICATION
        OF TROUTMAN PEPPER HAMILTON SANDERS LLP FOR COMPENSATION FOR
       SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES AS COUNSEL FOR
         THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
          FROM NOVEMBER 1, 2023 THROUGH AND INCLUDING NOVEMBER 30, 2023

                   The undersigned hereby certifies that she has received no formal or informal

objection or response to the Fifth Monthly Application of Troutman Pepper Hamilton Sanders LLP

for Compensation for Services Rendered and Reimbursement of Expenses as Counsel for the

Official Committee of Unsecured Creditors for the Period from November 1, 2023 Through and

Including November 30, 2023 [Docket No. 869] (the “Application”) filed by Troutman Pepper

Hamilton Sanders LLP (“Troutman Pepper”) on December 26, 2023. The undersigned further

certifies that she has reviewed the docket in these cases and that no objection or response to the

Application appears thereon. The notice attached to the Application established a deadline of

January 16, 2024 at 4:00 p.m. (Eastern Time) for filing and service of objections or responses to

the Application.

                   Accordingly, pursuant to the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Chapter 11 Professionals and Committee

Members [Docket No. 181], the above-captioned debtors and debtors in possession are authorized

to pay Troutman Pepper a total of $83,935.46, which represents (i) $83,680.80 in fees [80% of the


1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
               Case 23-10831-MFW      Doc 915        Filed 01/18/24   Page 2 of 2


total fees $104,601.00] plus (ii) $254.66 in expenses [100%] requested in the Application upon

the filing of this certificate and without the need for entry of a Court order approving the

Application.

Dated: January 18, 2024                Respectfully submitted,
Wilmington, Delaware
                                       TROUTMAN PEPPER HAMILTON SANDERS LLP

                                        /s/ Tori L. Remington
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                                       Counsel to the Official Committee of Unsecured
                                       Creditors

                                               -2-
